     Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 1 of 69 PageID #:239




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

KEN JOHANSEN on behalf of themselves and
others similarly situated,                         Case No. 17-cv-03604
         Plaintiff,
v.


SANTANNA NATURAL GAS
CORPORATION, dba SANTANNA ENERGY
SERVICES,
         Defendant.


                      CLASS ACTION SETTLEMENT AGREEMENT

         This class action settlement agreement (“Agreement” or “Settlement Agreement”) is

entered into as of August 21, 2018 by and among Ken Johansen (“Plaintiff”), individually and on

behalf of the class of persons he seeks to represent (the “Settlement Class” defined below), and

Santanna Natural Gas Corporation d/b/a Santanna Energy Services (“Defendant”) (Plaintiff, the

Settlement Class, and Defendant are collectively referred to as the “Parties”). This Settlement

Agreement is intended by the Parties to fully, finally, and forever resolve, discharge, and settle

this Action (defined below) and the Released Claims (defined below) with prejudice, upon and

subject to the terms and conditions of this Agreement, and subject to the final approval of the

Court.
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 2 of 69 PageID #:240



                                           RECITALS

       A.      On May 12, 2017, the Plaintiff filed a putative class action complaint (the

“Complaint”) against Defendant. The Complaint alleged that Defendant violated the Telephone

Consumer Protection Act, 47 U.S.C. § 227 (the “TCPA”) by making unsolicited telemarketing

calls to Plaintiff and members of the putative class.

       B.      On December 5, 2017, The Defendant filed a Third-Party Complaint (the “Third-

Party Complaint”) against Liberal United Marketing, Inc. and Jacob T. Adigwe, (the ”Third-

Party Defendants”) asserting claims for: (1) Contractual Indemnity; (2) Breach of Contract; (3)

Negligence; and (4) Intentional Misrepresentation.

       C.      Defendant denied and continues to deny Plaintiff’s allegations in the Complaint

and maintains that it complied with the TCPA and all applicable laws to the extent it made any

telephone calls at issue in the Action. Defendant further maintains that if this Action were to be

litigated, the Action would not be appropriate for class treatment. Defendant is entering into this

Agreement to avoid the expense, time, and risk associated with the continued defense of the

Action through dispositive motions, class certification, trial, and any subsequent appeals.

Defendant and Defendant’s Counsel also have considered the uncertainty, difficulty, and delays

inherent in litigation, especially in this complex class action. Therefore, Defendant and

Defendant’s Counsel believe it is desirable that this Action and the Released Claims be fully and

finally compromised, settled, dismissed with prejudice, and barred pursuant to the terms set forth

herein. Neither the fact of Settlement, this Agreement, nor any consideration therefor, nor any

actions taken to implement the terms of this Agreement are intended to be, nor may they be,

deemed or construed to be an admission or concession of liability or of the validity of any claim

or of any point of law or fact based upon, arising out of, relating to, or otherwise in connection




                                                -2-
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 3 of 69 PageID #:241



with the allegations asserted or that could have been asserted in this Action, and shall not be

deemed or construed to be an admission or evidence for any purpose whatsoever. Neither the

fact of Settlement, this Aagreement, nor any consideration therefore, nor any actions taken to

implement the terms of this Agreement are intended to be, nor may they be, deemed or construed

to be a waiver of any of the claims Defendant has asserted against Third-Party Defendants.

       D.      Plaintiff believes that the claims asserted in the Action have merit. Nonetheless,

Plaintiff and his counsel recognize and acknowledge the expense, time, and risk associated with

continued prosecution of the Action against Defendant through dispositive motions, class

certification, trial, and any subsequent appeals. Plaintiff and Plaintiff’s counsel also have

considered the uncertainty, difficulties, and delays inherent in litigation, especially in complex

actions. Therefore, Plaintiff and Plaintiff’s counsel believe that it is desirable that the Action and

the Released Claims be fully and finally compromised, settled, dismissed with prejudice, and

barred pursuant to the terms set forth herein. Based on their evaluation, which they have

confirmed by consulting with their own experts and by performing discovery, Plaintiff and

Plaintiff’s counsel have concluded that the terms and conditions of this Agreement are fair,

reasonable, and adequate for the Settlement Class, and that it is in the best interests of the

Settlement Class to settle the Released Claims pursuant to the terms and provisions of this

Agreement.

       E.      The Parties have engaged in wide-ranging discovery and have extensively

investigated the facts and issues related to the allegations asserted in the Action, and have

sufficient information to evaluate Settlement and this Agreement. The Parties participated in a

full-day mediation session in Chicago, IL with the Hon. Morton Denlow (Ret.) of JAMS which

resulted in this Settlement.




                                                -3-
   Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 4 of 69 PageID #:242



        F.      The Parties understand, acknowledge, and agree that the execution of this

Settlement Agreement constitutes the settlement and compromise of the disputed allegations,

facts, and claims alleged or that could have been alleged in this Action. The Parties further

understand, acknowledge, and agree that this Settlement Agreement, including all terms hereof,

shall be inadmissible as evidence against any of the Parties in any proceeding whatsoever except

any such proceeding to enforce the terms of this Settlement Agreement. The Parties further

understand, acknowledge, and agree that this Settlement Agreement is not an admission of

wrongdoing or liability on the part of any Party to this Settlement Agreement. The Parties desire

and intend to effect a full, complete, and final settlement and resolution of all existing disputes

and claims based upon, arising out of, related to, or otherwise in connection with the allegation

in this Action as set forth herein.

        NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among the

Parties, by and through their undersigned respective counsel, subject to final approval by the

Court after a hearing or hearings as provided for in this Settlement Agreement, and without

admitting or conceding any liability or damages based upon, arising out of, related to, or

otherwise in connection with the allegations asserted in this Action, and in consideration of the

benefits flowing from the Settlement Agreement set forth herein, that the Action and the

Released Claims shall be finally and fully compromised, settled, and released, and the Action

shall be dismissed with prejudice, upon and subject to the terms and conditions of this

Agreement.

                                        AGREEMENT

        As used in this Agreement and the exhibits attached hereto, the terms set forth below

shall have the meanings set forth below. The singular of a term shall include the plural of the




                                               -4-
     Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 5 of 69 PageID #:243



term, and the plural of a term shall include the singular of the term. A masculine, feminine, or

neuter pronoun shall include each of the other genders.


1.       DEFINITIONS

         As used in this Settlement Agreement, the following terms have the meanings specified

below:


         1.1    “Action” means the matter of Johansen v. Santanna Natural Gas Corporation

d/b/a Santanna Energy Services, Civil Action No. 17-cv-03604, currently pending in the United

States District Court for the Northern District of Illinois.

         1.2    “Agreement” or “Settlement Agreement” means this Class Action Settlement

Agreement.

         1.3    “Attorneys’ Fees and Costs” means all fees, costs, and expenses to be awarded

to Class Counsel, if any, as per this Settlement Agreement pursuant to the Fee and Cost

Application. The Attorneys Fees and Costs shall be paid exclusively from the Settlement Fund.

         1.4    “Benefit Check” means the negotiable instrument to be sent to the Settlement

Class Members by the Settlement Administrator pursuant to this Settlement Agreement.

         1.5    “CAFA Notice” means the notice contemplated by the Class Action Fairness Act,

28 U.S.C. § 1715(b), to be provided by the Settlement Administrator pursuant to this Settlement

Agreement.

         1.6    “Cash Benefits” means the cash payment to a Settlement Class Member from

the Settlement Fund pursuant to this Settlement Agreement.

         1.7    “Claim Deadline” means the date stated in the Postcard Notice, the Claim Form,

and the Long Form Notice by which claims must be postmarked.




                                                 -5-
   Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 6 of 69 PageID #:244



          1.8    “Claim Form” means the claim form attached hereto as Exhibit 4, which shall be

posted to the Settlement Website, and will be available via mail to Settlement Class Members

upon request.

          1.9    “Class Counsel” means:

                        Edward Broderick
                        Anthony Paronich
                        BRODERICK & PARONICH, P.C.
                        99 High St., Suite 304
                        Boston, Massachusetts 02110
                               -and-
                        Matthew P. McCue
                        THE LAW OFFICE OF MATTHEW P. MCCUE
                        1 South Avenue, Suite 3
                        Natick, Massachusetts 01760
                               -and-
                        Brian K. Murphy
                        Jonathan P. Misny
                        MURRAY MURPHY MOUL + BASIL LLP
                        1114 Dublin Rd.
                        Columbus, Ohio 43215

          1.10   “Class List” means the information provided by Plaintiff’s expert, Anya

Verkhovskaya, which includes, among other things, the telephone numbers, names, and

addresses, where available, of the Settlement Class.

          1.11   “Class Notice” means any type of notice that has been or will be provided to the

Settlement Class pursuant to this Agreement and any additional notice that might be ordered by

the Court, including, but not limited to, the Postcard Notice, Claim Form, and the Long Form

Notice.

          1.12   “Class Representative” or “Plaintiff” means Ken Johansen.

          1.13   “Court” means the United States District Court for the Northern District of

Illinois.




                                               -6-
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 7 of 69 PageID #:245



         1.14   “Cy-Pres Recipient” means any third party nominated by the Court to receive

the amounts left from any uncashed Benefit Checks. The Parties agree that they will propose to

the Court the National Consumer Law Center to be the Cy-Pres Recipient.

         1.15   “Defendant’s Counsel” means:

                       Thomas Hayes
                       GORDON REES SCULLY MANSUKHANI, LLP
                       One North Franklin, Suite 800
                       Chicago, Illinois 60606

         1.16   “Effective Date” means the last date by which all of the following events have

occurred: (i) the Court entering the Final Approval Order and Judgment without material change;

and (ii) the expiration of thirty-five (35) days following entry of the Final Approval Order and

Judgment without any appeal, or, in the instance of an appeal or motion to accept jurisdiction of

an appeal of the Final Approval Order and Judgment, entry of an order affirming the Final

Approval Order and Judgment without material change or denying jurisdiction of an appeal, and

all appeals have been exhausted; and (iii) The Final Approval Order and Judgment has become

Final.

         1.17   “Fee Award” means the amount of attorneys’ fees and reimbursement of

expenses awarded by the Court to Class Counsel. The Fee Award shall be paid exclusively from

the Settlement Fund.

         1.18   “Fee and Cost Application” means that written motion or application, if any, by

which Plaintiff or Class Counsel request the Court award Attorneys Fees and Costs and the

Incentive Award.

         1.19   “Final” means the Final Approval Order and Judgment has been entered in the

Action and one (1) business day following the later of the following events: (i) the date upon

which the time expires for filing or noticing any appeal of the Court’s Final Approval Order and



                                              -7-
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 8 of 69 PageID #:246



Judgment; (ii) if there is an appeal or appeals of any matter, topic, ruling, order, or issue in the

Action, other than an appeal or appeals solely with respect to the Fee Award, the date of final

dismissal or completion of such appeal or appeals in a manner that finally affirms and leaves in

place the Final Approval Order and Judgment; or (iii) the Court, following the resolution of any

appeal or appeals of any matter, topic, ruling, order, or issue in the Action, other than an appeal

or appeals solely with respect to the Fee Award, enters a further order or orders approving the

Settlement without material modification of the terms set forth herein, and no further appeal is

taken from such order(s) or, in the event any further appeal is taken from such order(s), any such

appeal results in the affirmation of such order(s). Neither the pendency of the Fee and Cost

Application, nor any appeal pertaining solely to a decision on the Fee and Cost Application, shall

in any way delay or preclude the Final Approval Order and Judgment from becoming Final.

       1.20    “Final Approval Hearing” means the hearing before the Court, scheduled to

take place no sooner than one hundred (100) days after the filing of the Motion for Preliminary

Approval, at which: (i) the Parties shall request and the Court shall consider final approval of the

Settlement, final certification of the Settlement Class, and entry of the Final Approval Order and

Judgment; (ii) the Court shall consider any timely objection to this Settlement and all responses

thereto; (iii) the Court shall consider the Fee and Cost Application; and (iv) the Court shall

dismiss the Action with prejudice.

       1.21    “Final Approval Order and Judgment” means the Court’s final approval of this

Settlement Agreement through an order, substantially in the form of Exhibit 1 attached hereto

without material change, to be entered by the Court through the entry of an order following the

Final Approval Hearing in which the Court grants final approval of this Settlement Agreement,

finally certifies the Settlement Class, and authorizes the entry of a final judgment and dismissal




                                               -8-
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 9 of 69 PageID #:247



of the Action with prejudice. The form of the Final Approval Order and Judgment is a material

term of this Settlement Agreement.

        1.22   “Incentive Award” means the payment to the Class Representative pursuant to

this Settlement Agreement. The Incentive Award shall be paid exclusively from the Settlement

Fund.

        1.23   “Long Form Notice” means the notice of this Settlement Agreement and Final

Approval Hearing, which is to be provided to the Settlement Class in accordance with this

Agreement and substantially in the form of Exhibit 2 hereto, or in such similar form as may be

ordered by the Court. The Long Form Notice shall be made available on the Settlement Website.

        1.24   “Objection/Exclusion Deadline” means the date no later than eighty-one (81)

calendar days after entry of the Preliminary Approval Order, or such other date as may be

ordered by the Court, by which (i) a written objection to this Settlement Agreement must be filed

in the Action, or (ii) a Request for Exclusion must be postmarked. The Objection/Exclusion

Deadline shall be posted to the Settlement Website described in this Settlement Agreement.

        1.25   “Parties” means Plaintiff, the Settlement Class, and Defendant.

        1.26   “Postcard Notice” means the postcard notice that is to be provided to the

Settlement Class in accordance with this Agreement and substantially in the form of Exhibit 3

hereto, or in such similar form as may be ordered by the Court.

        1.27   “Preliminary Approval Order” means the Court’s preliminary approval of this

Settlement through entry of a Court order, substantially in the form of Exhibit 5 attached hereto

without material modification, in which the Court: (i) preliminarily approves the term and

conditions of this Settlement Agreement as fair and reasonable; (ii) certifies the Settlement Class

solely for settlement purposes; (iii) approves the manner and form of Class Notice; (iv)




                                               -9-
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 10 of 69 PageID #:248



authorizes the dissemination of Class Notice to the Settlement Class; (v) directs the manner in

which and deadline by which Settlement Class Members may submit a Request for Exclusion;

(vi) appoints the Settlement Administrator; and (vii) and schedules a Final Approval Hearing.

The Form of the Preliminary Approval Order is a material term of this Settlement Agreement.

       1.28    “Release” means the releases set forth in Section 6 of this Settlement Agreement.

       1.29    “Released Parties” means Defendant and any and all of its present or former

predecessors, successors, subsidiaries, affiliates, divisions, joint ventures, and entities in which

Defendant has a controlling interest, and any of its officers, directors, partners, members,

principals,   insurers,   insureds,   employees,   shareholders,   attorneys,   servants,   assigns,

representatives, and agents.

       1.30    “Releasing Parties” means Plaintiff and each Settlement Class Member, and

their respective present, former, or subsequent assigns, heirs, successors, predecessors, parents,

subsidiaries, officers, directors, shareholders, members, managers, partners, principals,

representatives, employees, and any other person acting on their behalf.

       1.31    “Request for Exclusion” means the written submission submitted by any person

in the Settlement Class to opt out of the Settlement pursuant to this Settlement Agreement.

       1.32    “Settlement” means the settlement contemplated by this Agreement, including all

exhibits attached hereto.

       1.33    “Settlement Administration Expenses” means any and all fees, costs, and

expenses incurred by the Settlement Administrator, including, but not limited to, such fees, costs,

and expenses incurred in disseminating Class Notice and CAFA Notice, publishing Class Notice,

creating, administering, maintaining, and hosting the Settlement Website, and providing Benefit

Checks and Cash Benefits to Settlement Class Members. Settlement Administration Expenses




                                               - 10 -
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 11 of 69 PageID #:249



shall be paid exclusively from the Settlement Fund. Settlement Administration Expenses shall be

subject to the written approval of Class Counsel and Defendant’ Counsel, not to be unreasonably

withheld.

       1.34   “Settlement Administrator” means Kurtzman Carson Consultants, LLC

(“KCC”).

       1.35   “Settlement Class” means all persons within the United States identified in the

supplemental expert report of Anya Verkhovskaya to whom Defendant, through a third party,

initiated a telephone call from March 8, 2016 through May 12, 2017 to either (a) a cellular

telephone number or (b) a number on the National Do Not Call Registry.

       1.36    “Settlement Class Member” means Plaintiff and any person who is in the

Settlement Class and who has not timely submitted a valid Request for Exclusion by the

Objection/Exclusion Deadline (whether or not such members submit a claim pursuant to Section

5 of this Settlement Agreement) pursuant to this Settlement Agreement.

       1.37   “Settlement Class Recovery” means the amount of the Settlement Fund

available for distribution to the Settlement Class Members, after payment to the appropriate

persons of Settlement Administration Expenses, any Fee Award for any Attorneys’ Fees and

Costs, any Incentive Award, and any other expenditure as may be authorized by the Court.

       1.38   “Settlement Fund” means the common fund of Seven Hundred and Fifty

Thousand Dollars ($750,000) which will be the total aggregate amount that Defendant shall be

obligated to pay pursuant to the terms of this Settlement Agreement. The Settlement Fund shall

be used to pay any and all: (i) Settlement Class Recovery to Settlement Class Members; (ii)

Settlement Administration Expenses; (iii) Fee Award for Attorneys’ Fees and Costs; (iv)

Incentive Award; (v) Cy-Pres Recipients.




                                            - 11 -
     Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 12 of 69 PageID #:250



          1.39   “Settlement Website” means the internet website to be created, operated,

maintained, and hosted by the Settlement Administrator pursuant to this Settlement Agreement

          1.40   “TCPA” means the Telephone Consumer Protection Act, 47 U.S.C. § 227, and

any and all rules and regulations promulgated thereunder.

2.        NO ADMISSION OF LIABILITY OR ELEMENTS OF CLASS CERTIFICATION

          2.1    Defendant’s Denial of Wrongdoing or Liability. Defendant has asserted and

continues to assert many defenses in this Action and has expressly denied and continues to deny

any fault, wrongdoing, or liability whatsoever based upon, arising out of, relating to, or

otherwise in connection with the conduct alleged in the Action. Defendant expressly denied and

continues to deny fault, wrongdoing, or liability whatsoever, as well as the validity of each of the

claims and prayers for relief asserted in the Action. Defendant expressly acknowledges and

agrees that neither the fact of, nor any provision contained in, this Settlement Agreement, nor

any of the implementing documents or actions taken under them, nor Defendant’s willingness to

enter into the Settlement and this Agreement, nor the content or fact of any negotiations,

communications, and discussions associated with the Settlement and this Agreement shall

constitute or be construed as an admission by or against Defendant or any of the Released Parties

of any fault, wrongdoing, violation of law or liability whatsoever, the validity of the claims or

allegations in the Action, or any infirmity of any defenses asserted by the Defendant in the

Action.

3.        SETTLEMENT RELIEF

          3.1    Settlement Fund. Defendant agrees to deposit a total amount of Seven Hundred

and Fifty Thousand Dollars ($750,000) into the Settlement Fund, which Settlement Fund shall be

established and maintained by the Settlement Administrator for the benefit of the Settlement




                                               - 12 -
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 13 of 69 PageID #:251



Class, Class Representative, and Class Counsel. The Settlement Fund is to be established and

maintained for the explicit purpose of issuing and/or paying the Settlement Class Recovery,

Benefit Checks, and Cash Benefits with respect to all Settlement Class Members, all Settlement

Administration Expenses, any Incentive Award to the Class Representative, any Fee Award for

Attorneys Fees and Costs to Class Counsel, and any other expenditure authorized by the Court.

Defendant shall fund the settlement within twenty-eight (28) days following entry of the

Preliminary Approval Order.       Other than depositing $750,000 into the Settlement Fund,

Defendant shall have no further payment obligation to the Settlement Class or otherwise. All of

the monies deposited by Defendant into the Settlement Fund shall be placed into an interest

bearing escrow account established and maintained by the Settlement Administrator. The interest

generated on the monies deposited by Defendant into the Settlement Fund shall, if any, accrue to

the benefit of the Settlement Class and shall be added to the Settlement Fund. Class Counsel or

the Settlement Administrator as its designee shall be responsible for ensuring the Settlement

Fund is properly disbursed. Neither Defendant nor its attorneys shall be responsible for ensuring

the Settlement Fund is properly disbursed.

        3.2   Remedial Measures. Defendant has decided to cease telemarketing activities at

this time.

        3.3   Payments From The Settlement Fund

              a.      As soon as practicable but no later than sixty (60) days after the Effective

Date or such other date after the Effective Date as the Court may order, the Settlement

Administrator shall pay from the Settlement Fund the Settlement Class Recovery to all

Settlement Class Members who file a valid claim pursuant to Section 5 of this Settlement

Agreement on a pro rata basis.




                                             - 13 -
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 14 of 69 PageID #:252



               b.     If any amounts remain in the Settlement Fund because any Settlement

Class Member fails to cash his/her/its Benefit Check, or such Benefit Check expires or otherwise

becomes null and void, the Settlement Administrator shall distribute the remaining Settlement

Fund to Settlement Class Members who cashed their Benefit Check from the previous round of

distribution on a pro rata basis, if doing so is administratively and economically feasible. In the

event such distribution is not administratively and economically feasible, any remaining

Settlement Funds shall be distributed to the Cy-Pres Recipient.

4.  CLAIMS PROCESS AND DETERMINATION FOR ELIGIBILITY FOR
COMPENSATION FROM CLASS SETTLEMENT RECOVERY


       4.1     As described in the Class Notice, any Settlement Class Member who seeks

distribution from the Settlement Class Recovery as described in this Settlement Agreement must

request and return a completed and signed Claim Form to the Settlement Administrator,

postmarked before the Claims Deadline, to the address stated in the Class Notice. Any

Settlement Class Member who fails to timely return a completed and signed Claim Form by the

Claims Deadline shall not be eligible to participate in any distribution from the Settlement Class

Recovery as described in this Settlement Agreement. Settlement Class Members who timely

return a valid completed Claim Form will receive distribution(s) from the Settlement Class

Recovery as described herein.

       4.2     The Settlement Administrator shall review all submitted Claim Forms to

determine if such forms were signed, timely postmarked, and otherwise comply with any

requirement set forth in this Agreement. The Settlement Administrator shall review all submitted

Claim Forms to determine if the submitting person is eligible for distribution from the Settlement

Class Recovery under this Agreement by confirming that the submitting person’s identity and/or

information is reflected on the Class List. As necessary, the Settlement Administrator may


                                              - 14 -
     Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 15 of 69 PageID #:253



contact such submitting persons to gather additional or omitted information in order to determine

their eligibility for distribution(s) from the Settlement Class Recovery.

          4.3   For claims submitted online, the Settlement Administrator shall ensure that only

the individuals whose telephone number appears on the Class List are able to submit a claim

online.

5.        RELEASES

          5.1   Released Claims. Plaintiff and each member of the Class identified on the Class

List and not opting out, and their respective assigns, heirs, successors, predecessors, parents,

subsidiaries, officers, directors, shareholders, members, managers, partners, principals,

representatives, employees (each solely in their respective capacity as such), do hereby release

and forever discharge Defendant and all of its predecessors, successors, subsidiaries, and all of

their respective officers, directors, partners, members, principals, employees, agents, attorneys,

servants, and assigns of and from all claims, demands, causes of actions, suits, damages, fees

arising out of the sending of telemarketing calls promoting Santanna goods or services arising

under the TCPA from March 8, 2016 through May 12, 2017. Neither the fact of Settlement, this

Aagreement, nor any consideration therefore, nor any actions taken to implement the terms of

this Agreement are intended to be, nor may they be, deemed or construed to be a waiver of any

of the claims Defendant has asserted against Third-Party Defendants.

6.        NOTICE TO THE CLASS

          6.1   Upon entry of the Preliminary Approval Order, the Settlement Administrator shall

cause Class Notice to be disseminated to all persons in the Settlement Class as provided herein.

Such Class Notice shall comport with Rule 23 of the Federal Rules of Civil Procedure. The costs




                                               - 15 -
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 16 of 69 PageID #:254



and expenses of Class Notice shall be deemed part of the Settlement Administration Expenses to

be exclusively paid from the Settlement Fund.

       6.2    Class Notice was developed in consultation with the Settlement Administrator and

includes:

              a.      Mailed Notice. Subject to the approval of the Court, within twenty-one

(21) calendar days following entry of the Preliminary Approval Order, the Settlement

Administrator shall cause a singular Postcard Notice to be mailed first-class U.S. mail, return

service requested, to the names and addresses associated with the telephone numbers of the

Settlement Class as reflected in the Class List, substantially in the form provided in Exhibit 3

hereto. The Settlement Administrator shall perform investigations deemed appropriate by the

Settlement Administrator in an attempt to identify complete and current address information for

each person in the Settlement Class. The Settlement Administrator shall promptly re-mail any

Postcard Notice returned as non-deliverable with a forwarding address. For all other returned

mail, the Settlement Administrator shall perform data searches of the U.S. Postal Services

National Change of Address database and/or any other reasonably available databases available

to the Settlement Administrator, and perform any other reasonable steps to obtain current address

information for any Postcard Notice returned to Settlement Administrator, and shall re-mail such

Postcard Notice at least one additional time to the most current address information obtained by

the Settlement Administrator. All costs associated with the Postcard Notice, including, but not

limited to, all costs of research, address determination and confirmation, data searches, and

printing, publishing, mailing, and re-mailing shall be considered Settlement Administrative

Expenses to be exclusively paid from the Settlement Fund.




                                             - 16 -
     Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 17 of 69 PageID #:255



               b.     Settlement Website. Following entry of the Preliminary Approval Order,

but prior to the date of the mailing of the Postcard Notice pursuant to this Settlement Agreement,

the Settlement Administrator shall create, maintain, operate, and host a dedicated Settlement

Website to assist in the administration of this Settlement. The Settlement Website shall provide

persons in the Settlement Class access to copies of the Complaint, this Agreement with all

exhibits referenced herein, Class Notice, including, but not limited to, the Long Form Notice and

Claim Form, the Motion for Preliminary Approval, and the Preliminary Approval Order. All

costs associated with the creation, operation, maintenance, and hosting of the Settlement

Website, including the preparation of all documents provided therein, shall be considered

Settlement Administrative Expenses to be exclusively paid from the Settlement Fund. This

website will also be where Settlement Class Members can file claims, although any Settlement

Class Member will also be able to request a paper copy of a claim form.

         6.3   CAFA Notice. Class Counsel, through the Settlement Administrator, shall be

responsible for serving the required CAFA Notice(s) within ten (10) calendar days after filing the

motion seeking the Preliminary Approval Order. Class Counsel shall take all steps to ensure the

Settlement Administrator has contracted in writing to retain such documents and records in

accordance with this Settlement Agreement.

         6.4   Declaration of Compliance. The Settlement Administrator shall prepare and

execute a declaration attesting to compliance with the Class Notice requirements of this

Agreement and the Preliminary Approval Order. Such declaration shall be provided to Class

Counsel and Defendant’s Counsel and filed with the Court no later than ten (10) calendar days

prior to the Final Approval Hearing.

7.       SETTLEMENT ADMINISTRATION




                                              - 17 -
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 18 of 69 PageID #:256



       7.1     The Settlement Administrator shall, under the supervision of the Court, administer

the relief provided by this Settlement Agreement by completing its duties in a rational,

reasonable, responsive, cost effective, and timely manner. The Settlement Administrator shall

maintain reasonably detailed records of its activities under the Settlement and this Agreement.

The Settlement Administrator shall maintain all such records as are required by the Court and

applicable law in accordance with its normal business practices, including, but not limited to, a

summary of work performed by the Settlement Administrator, including an accounting of all

amounts paid from the Settlement Fund to Settlement Class Members. Such records shall be

provided to Class Counsel and Defendant’s Counsel upon reasonable request. Without limiting

the foregoing, the Settlement Administrator shall receive objections and Requests for Exclusion

forms, and upon such receipt shall promptly provide copies of such objections and Requests for

Exclusion forms to Class Counsel and Defendant’s Counsel.

       7.2     The Settlement Administrator shall be responsible for all matters relating to the

administration of this Settlement, including, but not limited to:

               a.      Preparing and completing Class Notice;

               b.      Obtaining complete address information for Settlement Class Members,

including new addresses for any returned Class Notice, Benefit Checks, or any other documents;

               c.      Creating, operating, maintaining, and hosting a Settlement Website, from

which Settlement Class Members can access copies of the Complaint, this Agreement, Class

Notice, the Preliminary Approval Order, and other pertinent documents, materials, and

information about this Settlement;

               d.      Acting as a liaison between Settlement Class Members and the Parties;

               e.      Issuing and mailing Benefit Checks;




                                               - 18 -
     Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 19 of 69 PageID #:257



               f.      Preparing and providing a declaration to Class Counsel and Defendant’s

Counsel prior to the submission of the Plaintiff’s Motion for Final Approval of the Class Action

Settlement: (i) attesting to the compliance of the provisions of this Settlement Agreement

concerning Class Notice; and (ii) listing each Settlement Class Member who timely and validly

submitted a Request for Exclusion opting out of the Settlement as described in Section 14.1 of

this Settlement Agreement; and

               g.      Performing any other tasks reasonably required to effectuate the

Settlement and this Agreement, including, but not limited to, all responsibilities, obligations, and

tasks referenced in any Section of this Agreement.

         7.3   In the exercise of its duties outlined in this Agreement, the Settlement

Administrator shall have the right to reasonably request additional information from the Parties

or any Settlement Class Member as it relates to the Settlement.

8.       EFFECTIVE DATE

         8.1   The Effective Date of this Settlement Agreement shall not occur unless and until

each of the following events has occurred and shall be the date upon which the last (in time) of

the following events occurs:

               a.      This Agreement has been signed by Plaintiff, Defendant, Class Counsel,

and Defendant’s Counsel;

               b.      The Court has entered the Preliminary Approval Order;

               c.      The Court has entered the Final Approval Order and Judgment, following

Class Notice, as provided in the Preliminary Approval Order, and a Final Approval Hearing, as

provided in the Federal Rules of Civil Procedure;




                                               - 19 -
     Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 20 of 69 PageID #:258



               d.     The expiration of thirty-five (35) days following entry of the Final

Approval Order and Judgment without any appeal, or, in the instance of an appeal or motion to

accept jurisdiction of an appeal of the Final Approval Order and Judgment, entry of an order

affirming the Final Approval Order and Judgment without material change or denying

jurisdiction of an appeal, and all appeals have been exhausted; and

               e.     The Final Approval Order and Judgment has become Final, as defined in

this Settlement Agreement.

         8.2   If any one or all of the conditions specified in this Settlement Agreement are not

met, or in the event that this Agreement is not approved by the Court, then this Settlement

Agreement shall be canceled and terminated and be deemed null and void as described in this

Settlement Agreement unless Class Counsel and Defendant mutually agree in writing to proceed

with this Agreement or such mutually agreeable alternative agreement as approved by the Court.

         8.3   If this Agreement is terminated or the Effective Date does not occur for any

reason whatsoever, the Parties shall be restored to their respective positions in the Action as of

the date of the signing of this Agreement as described in this Settlement Agreement. In such

event, any Final Approval Order and Judgment or other order entered by the Court in accordance

with the terms of this Agreement shall be treated as vacated, nunc pro tunc, and the Parties shall

be returned to the status quo ante with respect to the Action as if this Agreement had never been

entered into as described in this Settlement Agreement.

9.       TERMINATION OF SETTLEMENT

         9.1   The Parties’ willingness to enter into this Agreement and to agree to the

certification of a conditional settlement class is dependent upon achieving finality in this Action

and avoiding the uncertainties, risks, costs, and delays associated with this Action. Accordingly,




                                              - 20 -
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 21 of 69 PageID #:259



the Parties shall each have the unilateral right to terminate this Agreement, declare it null and

void, and have no further obligations under this Agreement by providing written notice to the

Court and all other Parties hereto within twenty (20) business days of any Party’s actual notice of

any of the following events:

                  a.    the Court rejects, materially modifies, materially amends or changes, or

declines to issue a Preliminary Approval Order or a Final Approval Order and Judgment with

respect to the Settlement;

                  b.    an appellate court reverses the Final Approval Order and Judgment, and

the Settlement is not reinstated without material change by the Court on remand;

                  c.    any court incorporates into, or deletes or strikes from, or modifies,

amends, or changes, the Preliminary Approval Order, the Final Approval Order and Judgment, or

this Settlement Agreement in a way that Plaintiff or Defendant reasonably consider material,

unless such incorporation, deletion, modification, amendment, or change is accepted in writing

by all Parties;

                  d.    the Effective Date of the Settlement does not occur for any reason;

                  e.    the Final Approval Order does not become Final;

                  f.    more than one hundred (100) Settlement Class Members opt out of the

Settlement; or

                  h.    any other ground for termination provided elsewhere in this Settlement

Agreement occurs.


10.     PRELIMINARY APPROVAL ORDER

        10.1      Preliminary Approval Order. Promptly following the execution of this

Agreement, Class Counsel shall submit this Agreement together with all exhibits referenced



                                               - 21 -
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 22 of 69 PageID #:260



herein to the Court, and shall apply to the Court, and Defendant’s Counsel shall file a notice

joining such application or otherwise not oppose such application, for entry of the Preliminary

Approval Order in the form of Exhibit 5 hereto. The proposed Preliminary Approval Order shall,

among other things:

       a.      preliminarily approve this Settlement Agreement (subject to the Final Approval

Hearing) as fair and reasonable;

       b.      preliminarily certify the Settlement Class for settlement purposes only;

       c.      appoint Plaintiff’s undersigned counsel as Class Counsel;

       d.      appoint Plaintiff as the Class Representative;

       e.      appoint KCC as the Settlement Administrator;

       f.      set a schedule for proceedings concerning final approval of this Settlement,

including, but not limited to, scheduling a Final Approval Hearing date, which shall be scheduled

no earlier than one hundred (100) days after entry of the Preliminary Approval Order;

       g.      approve the manner and form of Class Notice and authorize same for

dissemination in accordance with Section 7 of this Agreement;

       h.      approve the manner in which and deadline by which persons in the Settlement

Class may submit a Request for Exclusion;

       i.      schedule a Final Approval Hearing;

       j.      provide, pending entry of a Final Approval Order and Judgment, the Parties shall

cooperate in seeking orders that no person in the Settlement Class shall commence or continue

any action, in any capacity, against Defendant or any other Released Parties asserting any of the

Released Claims;




                                              - 22 -
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 23 of 69 PageID #:261



       k.      issue a stay in the Action, other than such proceedings as are related to this

Settlement Agreement; and

       l.      provide Defendant has made no admissions in relation to the negotiation or

execution of this Settlement Agreement or any document based upon, arising out of, related to,

or otherwise in connection therewith.

       The Preliminary Approval Order shall further authorize the Parties, without further

approval from the Court, to agree to and adopt such amendments, modifications, and expansions

of this Settlement Agreement and its implementing documents, including, but not limited to, all

exhibits hereto, so long as such amendments, modifications, and expansions are consistent in all

material respects with the proposed terms of the Final Approval Order and Judgment as set forth

in Exhibit 1 to this Settlement Agreement.

11.    FINAL APPROVAL AND JUDGMENT ORDER

       11.1    No later than ten (10) calendar days prior to the Final Approval Hearing, the

Settlement Administrator shall file with the Court and serve on Defendant’s Counsel a

declaration as described in this Settlement Agreement.

       11.2    Upon all conditions precedent to the Settlement having been satisfied, including,

but not limited to, the issuance of the Preliminary Approval Order, not later than ten (10)

calendar days prior to the Final Approval Hearing:

               a.     All Parties will request, individually or collectively, that the Court enter

the Final Approval Order in substantially the form attached as Exhibit 1 hereto;

               b.     Class Counsel shall file a memorandum of points and authorities in

support of a motion seeking the Final Approval Order and Judgment; and




                                              - 23 -
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 24 of 69 PageID #:262



               c.      Class Counsel and/or Defendant’s Counsel may file a memorandum

addressing any objections submitted to the Settlement as described in this Settlement Agreement.

       11.3    At the Final Approval Hearing, the Court will consider the proposed Final

Approval Order and Judgment, which shall, among other things:

               a.      find that the Court has personal jurisdiction over all Settlement Class

Members;

               b.      find that the Court has subject matter jurisdiction over the Action and the

Released Claims such that the Court may approve this Agreement and all exhibits hereto;

               c.      find final approval of this Settlement Agreement and the Settlement to be

fair, reasonable and adequate as to, and in the best interests of, the Settlement Class Members,

and that each Settlement Class Member shall be bound by this Settlement Agreement, including

the Released Claims and the covenant not to sue as described in Section 6 of this Settlement

Agreement, and that this Settlement Agreement should be and is approved;

               d.      direct the Parties and their counsel to implement this Agreement according

to its terms and provisions;

               e.      declare this Agreement to be binding on, and have preclusive effect on, all

pending and future lawsuits or other proceedings maintained by or on behalf of Plaintiff, the

Settlement Class Members, and the Releasing Parties;

               f.      find that the Class Notice as described in this Agreement satisfies the

requirements of the Federal Rules of Civil Procedure, the Due Process Clause of the United

States Constitution, and all applicable rules of the Court, constitutes the best practicable notice

under the circumstances, constitutes notice that is reasonably calculated to apprise the Settlement

Class Members of the pendency of the Action, their right to object to or exclude themselves from




                                              - 24 -
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 25 of 69 PageID #:263



the proposed Settlement, and to appear at the Final Approval Hearing, and is reasonable and

constitutes due, adequate, and sufficient notice to all persons entitled to receive notice of the

Settlement.

                  g.    find that the Class Representative and Class Counsel adequately

represented the Settlement Class for purposes of entering and implementing the Agreement;

                  h.    dismiss the Action, including, without limitation, all Released Claims

against the Released Parties, on the merits and with prejudice, without fees or costs to any Party

except as provided in this Settlement Agreement;

                  i.    approve and incorporate the releases described in Section 6 of this

Agreement, make such releases effective as of the date of entry of the Final Approval Order and

Judgment, and forever discharge the Released Parties from the Released Claims as described in

Sections 6.1 and 6.2 of this Agreement;

                  j.    without affecting the finality of the Final Approval Order and Judgment,

retain jurisdiction as to all matters relating to administration, consummation, enforcement, and

interpretation of this Settlement Agreement; and

                  k.    permanently enjoin each Settlement Class Member from bringing, joining,

or continuing to prosecute any Released Claims against Defendant or any of the Released

Parties.

           11.4   If the Court refuses to issue the Final Approval Order and Judgment in

substantially the same form as Exhibit 1 hereto, or otherwise refuses to issue the Final Approval

Order and Judgment without material modification, or issues the Final Approval Order and

Judgment materially different from that attached as Exhibit 1 hereto, or the Final Approval Order

and Judgment is reversed or modified on appeal and/or remand, then the Settlement and this




                                              - 25 -
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 26 of 69 PageID #:264



Agreement in its entirety shall become null and void, unless the Parties promptly agree in writing

to proceed with the Settlement and this Agreement consistent with the change or modification

under which the Settlement and this Agreement is otherwise rendered null and void. In the event

the Settlement and this Agreement becomes null and void, the Parties shall be restored without

prejudice to their respective litigation positions in the Action prior to execution of this

Agreement as described in Section 8.3 of this Settlement Agreement.

12.    OPT-OUTS AND OBJECTIONS

       12.1    Opting Out. The Class Notice shall contain information about how a person in

the Settlement Class may opt-out of the Settlement (i.e., a request to be excluded from the

Settlement Class) by mailing a Request for Exclusion by first-class mail, postage prepaid, and

postmarked to the address of the Settlement Administrator as specified in the Class Notice. Such

Request for Exclusion shall clearly indicate the name, address, telephone number the name and

case number of the Action, a clear and unequivocal statement that the person wishes to be

excluded from the Settlement Class, and the signature of such person or, in the case of a person

in the Settlement Class who is deceased or incapacitated, the signature of the legally authorized

representative of such person.

       12.2    Objections. The Class Notice shall contain information about how a person in the

Settlement Class who does not properly and timely submit a Request for Exclusion pursuant to

this Settlement Agreement, may object to the Settlement by filing a written objection with the

Court by the Objection/Exclusion Deadline, with a copy served on the Settlement Administrator,

Class Counsel, and Defendant’s Counsel at the addresses provided in the Class Notice, which

written objection must contain the following:




                                                - 26 -
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 27 of 69 PageID #:265



               a.      the full name, address, telephone number, and signature of the objecting

Settlement Class Member;

               b.      the specific reasons for the objecting Settlement Class Member’s objection

to the Settlement, and a detailed statement of the factual and legal basis for such objections;

               c.      the identity of all witnesses, including the witness’s name and address, and

a summary of such witness’s proposed testimony, who the objecting Settlement Class Member

may call to testify at the Final Approval Hearing, and describe and produce copies of all

evidence such objecting Settlement Class Member may offer at the Final Approval Hearing; and

               d.      a statement whether the objecting Settlement Class Member and/or

his/her/its attorney(s) intend to appear at the Final Approval Hearing. Any attorney of an

objecting Settlement Class Member who intends to appear at the Final Approval Hearing must

enter a written Notice of Appearance of Counsel with the Clerk of the Court no later than the

date set by the Court in its Preliminary Approval Order and shall include the full caption and

case number of each previous class action case in which such counsel has represented an

objector.

13.    CLASS COUNSEL’S              FEE     AWARD        AND      COST      REIMBURSEMENT;
       INCENTIVE AWARD.

       13.1    Attorneys’ Fees and Costs. On or before thirty (30) days after the Preliminary

Approval Order has been entered, Class Counsel shall file with the Court a Fee and Cost

Application seeking a Fee Award of Attorneys’ Fees and Costs to be paid exclusively from the

Settlement Fund, which Fee and Cost Application shall be subject to approval by the Court. The

Fee and Cost Application may seek up to one-third of the Settlement Fund, plus any out-of-

pocket costs incurred by Class Counsel in this Action. Nothing in this Agreement requires

Defendant or Defendant’s Counsel to take any position with respect to this Section 13.1 of the



                                               - 27 -
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 28 of 69 PageID #:266



Settlement Agreement. The Fee and Cost Application shall be noticed to be heard at or before

the Final Approval Hearing. The Settlement Administrator shall disburse any Fee Award of

Attorneys’ Fees and Costs, including any out-of-pocket costs incurred by Class Counsel in this

Action, to Class Counsel within fifteen (15) days after the Effective Date. Defendant shall have

no responsibility for, or any liability with respect to, the payment of any Fee Award of

Attorneys’ Fees and Costs, including any out-of-pocket costs incurred by Class Counsel in this

Action. The Defendant shall have no responsibility for and shall have no liability whatsoever

with respect to the allocation of any Fee Award of Attorneys’ Fees and Costs among Class

Counsel and/or any other person who may assert a claim thereto. The sole source of any payment

of any such Fee Award shall be the Settlement Fund.

       13.2   Incentive Award. On or before thirty (30) days after the Preliminary Approval

Order has been entered, the Class Representative shall file with the Court a Fee and Cost

Application to be paid exclusively from the Settlement Fund seeking an Incentive Award of up

to Ten Thousand Dollars ($10,000) in recognition of the time and efforts invested by Class

Representative on behalf of the Settlement Class in this Action. Nothing in this Agreement

requires Defendant or Defendant’s Counsel to take any position with respect to this Section 13.2

of the Settlement Agreement. The Fee and Cost Application shall be noticed to be heard at or

before the Final Approval Hearing. The Settlement Administrator shall disburse any Incentive

Award to Class Representative within fifteen (15) days after the Effective Date and only after

receiving any and all necessary W-9 form(s) from Class Representative, but prior to the issuance

of any Benefit Check or payment of Cash Benefit to any Settlement Class Member. Defendant

shall have no responsibility for, or any liability with respect to, the payment of any Incentive

Award. The sole source of any payment of any such Incentive Award shall be the Settlement




                                             - 28 -
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 29 of 69 PageID #:267



Fund. The Incentive Award is in lieu of any payments to which Class Representative may

otherwise be entitled as a Settlement Class Member under this Settlement Agreement.

14.    MISCELLANEOUS PROVISIONS

       14.1    The Parties (a) acknowledge that it is their intent to consummate this Settlement

Agreement; and (b) agree, subject to their fiduciary and other legal obligations, to cooperate to

the extent reasonably necessary to effectuate and implement all terms and conditions of this

Agreement and to exercise reasonable efforts to accomplish the foregoing terms and conditions

of this Agreement. Class Counsel and Defendant’s Counsel agree to cooperate with one another

in seeking Court approval of the Preliminary Approval Order, the Settlement Agreement, and the

Final Approval Order and Judgment, and to agree upon and execute all such other documentation

as may be reasonably required to obtain final approval of the Agreement.

       14.2    The Parties intend this Settlement Agreement to be a final and complete

resolution of all disputes between them with respect to the Released Claims by Plaintiff and the

Settlement Class, and each or any of them, on the one hand, against the Released Parties, and

each or any of the Released Parties, on the other hand.

       14.3    The Parties have relied upon the advice and representation of their respective

counsel concerning their respective legal liability for the claims hereby released. The Parties

have read and understand fully the above and foregoing Agreement and have been fully advised

as to the legal effect thereof by counsel of their own selection and intend to be legally bound by

the same.

       14.4    Unless the context of this Agreement requires otherwise, the plural includes the

singular, the singular includes the plural, and “including” has the inclusive meaning of

“including without limitation.” The words “hereof,” “herein,” “hereby,” “hereunder,” and other




                                              - 29 -
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 30 of 69 PageID #:268



similar terms of this Agreement refer to this Agreement as a whole and not exclusively to any

particular provision of this Agreement. All pronouns and any variations thereof will be deemed

to refer to masculine, feminine, or neuter, singular, or plural, as the identity of the person or

persons may require.

       14.5    The waiver by one Party of any breach of this Agreement by any other Party shall

not be deemed as a waiver of any other prior or subsequent breaches of this Agreement.

       14.6    Except as otherwise provided herein, each Party shall bear its own costs and

attorneys’ fees.

       14.7    Each counsel or other Party executing this Settlement Agreement, any of its

exhibits, or any related settlement documents on behalf of any Party hereto hereby warrants and

represents that such Party has the full authority to do so and has the authority to take appropriate

action required or permitted to be taken pursuant to the Agreement to effectuate its terms.

       14.8    This Agreement may be executed by the Parties in one or more counterparts, each

of which shall be deemed an original but all of which together shall constitute one and the same

instrument. Facsimile signatures or scanned and e-mailed signatures shall be treated as original

signatures and shall be binding.

       14.9    This Settlement Agreement shall be binding upon, and inure to the benefit of, the

successors, representatives, and assigns of the Parties, the Settlement Class Members, and the

Released Parties.

       14.10 This Agreement, the exhibits hereto, and the terms and conditions herein

constitute the entire agreement between the Parties. No representations, warranties, or

inducements have been made to any of the Parties, other than those representations, warranties,

and inducements contained in this Agreement.




                                               - 30 -
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 31 of 69 PageID #:269



       14.11 This Agreement shall be governed by the laws of the State of Illinois.

       14.12 This Agreement may not be amended, modified, altered, or otherwise changed in

any manner, except by a writing signed by all of the Parties and approved by the Court.

       14.13 Unless otherwise stated herein, any notice to the Parties required or provided

under this Agreement shall be in writing and may be sent by electronic mail, overnight delivery

by a national recognized courier service (i.e., UPS, FedEx, or the equivalent), or hand delivery as

follows:

               a.     If to Class Counsel:

               Edward Broderick
               Anthony Paronich
               BRODERICK & PARONICH, P.C.
               99 High St., Suite 304
               Boston, Massachusetts 02110
               ted@broderick-law.com
               anthony@broderick-law.com


               b.     If to Defendant’s Counsel:

               Thomas Hayes
               GORDON REES SCULLY MANSUKHANI, LLP
               One North Franklin, Suite 800
               Chicago, Illinois 60606
               thayes@grsm.com

       14.14 This Agreement is deemed to have been prepared by counsel for all Parties, as a

result of arm’s-length negotiations among the Parties with the aid of neutral mediators. Whereas

all Parties have contributed substantially and materially to the preparation of this Agreement, it

shall not be construed more strictly against one Party than another.




                                              - 31 -
Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 32 of 69 PageID #:270
Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 33 of 69 PageID #:271




                     EXHIBIT 1
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 34 of 69 PageID #:272




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

KEN JOHANSEN on behalf of themselves and
others similarly situated,                            Case No. 17-cv-03604
        Plaintiff,
v.

SANTANNA NATURAL GAS
CORPORATION, dba SANTANNA ENERGY
SERVICES,

        Defendant.


                                   [PROPOSED]
                       FINAL APPROVAL ORDER AND JUDGMENT

         The Parties in this class action lawsuit have moved for final approval of their proposed

class settlement. The Court preliminarily approved the Settlement Agreement on ________, 2018,

and notice was given to all members of the Settlement Class under the terms of the Preliminary

Approval Order.

         Upon consideration of the motion, the Settlement Agreement, and the exhibits thereto, the

Court GRANTS final approval of the Settlement, finding specifically as follows:

                                        I.      Jurisdiction

         1.     This Court has jurisdiction over the subject matter of the Action and over all parties

to the Action, including all Settlement Class Members.1




1 Unless otherwise defined herein, all terms used in this Order that are defined terms in the
Settlement Agreement have the same meaning as set forth in the Settlement Agreement.


35655595v1
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 35 of 69 PageID #:273



                                       II.     Class Definition

         2.      Under Federal Rule of Civil Procedure 23(c), the Court certifies the following

“Settlement Class,” consisting of:

              All persons within the United States identified in the supplemental expert report
              of Anya Verkhovskaya to whom Defendant, through a third party, initiated a
              telephone call from March 8, 2016 through May 12, 2017 to either (a) a cellular
              telephone number or (b) a number on the National Do Not Call Registry.

                          III.    Class Representative and Class Counsel

         3.      Under Federal Rule of Civil Procedure 23, Ken Johansen is hereby appointed as

Class Representative.

         4.      The following are hereby appointed as Class Counsel:

                         Edward Broderick
                         Anthony Paronich
                         BRODERICK & PARONICH, P.C.
                         99 High St., Suite 304
                         Boston, Massachusetts 02110
                                -and-
                         Matthew P. McCue
                         THE LAW OFFICE OF MATTHEW P. MCCUE
                         1 South Avenue, Suite 3
                         Natick, Massachusetts 01760
                                -and-
                         Brian K. Murphy
                         Jonathan P. Misny
                         MURRAY MURPHY MOUL + BASIL LLP
                         1114 Dublin Rd.
                         Columbus, Ohio 43215

                                    IV.      Rule 23 Requirements

         5.      Pursuant to Rule 23(a), the Court finds that: (a) the Settlement Class is so numerous

that joinder of all members is impracticable; (b) there are questions of law or fact common to the

Settlement Class; (c) the claims of the Class Representative, identified above, are typical of the

claims of the Settlement Class; and (d) the Class Representative will fairly and adequately protect



                                                   2
35655595v1
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 36 of 69 PageID #:274



the interests of the Settlement Class.

          6.    Pursuant to Rule 23(b)(3), the Court finds that: (A) the questions of law or fact

common to the members of the Settlement Class predominate over the questions affecting only

individual members, and (B) certification of the Settlement Class is superior to other available

methods for the fair and efficient adjudication of the controversy.

                                   V.     Notice and Opt-outs.

          7.    The Court finds that, in accordance with the Notice Plan and Rule 23(c)(2)(B), the

Settlement Administrator provided the best notice practicable under the circumstances, including

individual notice to all Settlement Class Members who could be identified through reasonable

effort.

          8.    The Court finds that Defendant properly and timely notified the appropriate state

and federal officials of the Settlement Agreement under the Class Action Fairness Act of 2005

(“CAFA”). See 28 U.S.C. § 1715.

          9.    All persons who made timely and valid requests for exclusion are excluded from

the Settlement Class and are not bound by this Final Approval Order and Judgment. The list of

persons submitting notices seeking exclusion from the Settlement Class, submitted by Plaintiff

pursuant to the Preliminary Approval Order, is hereby accepted as the list of persons who have

made timely and valid requests for exclusion.

                            VI.     Final Approval of the Settlement.

          10.   Pursuant to the Settlement Agreement, the Defendant has agreed to pay Seven

Hundred and Fifty Thousand Dollars ($750,000) to create the Settlement Fund. Amounts awarded

to Class Counsel or the Class Representative will be paid from the Settlement Fund. Class

Members who have submitted a valid claim will receive a pro-rata share of the Settlement Fund



                                                 3
35655595v1
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 37 of 69 PageID #:275



after attorneys’ fees and costs, the Class Representative’s award, and the costs of notice and

administration are deducted. In addition to payments from the Settlement Fund, Defendant has

also agreed that it has taken steps to ensure compliance going forward with the telemarketing

conduct alleged in the Complaint.

         11.   The Court has read and considered the papers filed in support of the Motion,

including the Settlement Agreement and the exhibits thereto, memoranda and arguments submitted

on behalf of the Plaintiff, Settlement Class Members, and the Defendant. The Court has also read

and considered any written objections filed by Settlement Class Members. [Alternatively: “The

Court has not received any objections from any person regarding the Settlement.”] The Court held

a hearing on ________, 2018, at which time the parties [and objecting Settlement Class Members]

were afforded the opportunity to be heard in support of or in opposition to the Settlement.

Furthermore, the Court finds that notice under the Class Action Fairness Act was effectuated on

________, 2018, and that ninety (90) days has passed without comment or objection from any

governmental entity.

         12.   The Court now grants final approval to the Settlement and finds that the Settlement

is fair, adequate, reasonable, and in the best interests of the Settlement Class. This finding is

supported by, among other things, the complex legal and factual posture of the Action, the fact

that the Settlement is the result of arm’s-length negotiations presided over by a neutral mediator,

and the settlement benefits being made available to Settlement Class Members.

         13.   The Settlement Administrator shall take all reasonable steps necessary to ensure

that the Settlement is effectuated in a manner consistent with the Settlement Agreement.

         14.   In the event that settlement payments exceed the threshold amounts that must be

reported to the Internal Revenue Service by means of a Form 1099, Class Counsel, and the



                                                4
35655595v1
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 38 of 69 PageID #:276



Settlement Administrator, will take all necessary and reasonable steps to obtain W-9’s from

claimants and to comply with applicable IRS regulations on issuing 1099’s without a social

security number or tax entity identification number, and shall take all reasonable and necessary

steps to avoid imposition of IRS penalties against the Settlement Fund, including, but not limited

to, limiting payments below the reportable threshold and/or withholding of taxes and any

applicable penalties.

         15.   The Court orders the Parties to the Settlement Agreement to perform their

obligations thereunder. The Settlement Agreement shall be deemed incorporated herein as if

explicitly set forth and shall have the full force of an order of this Court.

         16.   The Court dismisses this Action with prejudice and without costs (except as

otherwise provided herein and in the Settlement Agreement).

         17.    On and after the Effective Date, the Releasing Parties, and each of them, are forever

barred and permanently enjoined from directly, indirectly, representatively, or in any other

capacity filing, commencing, prosecuting, continuing, or litigating any other proceeding against

any of the Released Parties in any jurisdiction based on or relating in any way to the Released

Claims, and the Releasing Parties are forever barred and permanently enjoined from filing,

commencing, or prosecuting any lawsuit individually or as a class action against any of the

Released Parties (including by seeking to amend a pending complaint to include class allegations

or by seeking class certification in a pending action in any jurisdiction) based on or relating in any

way to the Released Claims.

         18.   The Court further orders that upon the Effective Date, the above-described releases

and the Settlement Agreement will be binding on, and have res judicata and preclusive effect in

all pending and future lawsuits or other proceedings maintained by or on behalf of the Releasing



                                                   5
35655595v1
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 39 of 69 PageID #:277



Parties.

           19.   Without affecting the finality of this Final Approval Order and Judgment in any

way, the Court retains jurisdiction over: (a) implementation and enforcement of the Settlement

Agreement until the final judgment contemplated hereby has become effective and each and every

act agreed to be performed by the Parties hereto pursuant to the Settlement Agreement have been

performed; (b) any other action necessary to conclude the Settlement and to administer, effectuate,

interpret, and monitor compliance with the provisions of the Settlement Agreement; and (c) all

Parties to this Action and Settlement Class Members for the purpose of implementing and

enforcing the Settlement Agreement.

        VII.     Attorneys’ Fees, Attorney Expenses and Class Representative’s Award

           20.   The Court approves payment of attorneys’ fees, costs, and expenses to Class

Counsel in the amount of $______________ in attorneys’ fees and _______ in costs. This amount

shall be paid from the Settlement Fund in accordance with the terms of the Settlement Agreement.

The Court, having considered the materials submitted by Class Counsel in support of final approval

of the Settlement and their request for attorneys’ fees, costs, and expenses and in response to the

filed objections thereto, finds the award of attorneys’ fees, costs, and expenses appropriate and

reasonable and the Court notes that the Notice specifically and clearly advised the Settlement Class

that Class Counsel would seek the award.

           21.   The Court approves the incentive fee payment of $________ for the Class

Representative and specifically finds that amount to be reasonable in light of the service performed

by Plaintiff for the class. This amount shall be paid from the Settlement Fund in accordance with

the terms of the Settlement Agreement. Any incentive award will be reported as “other income”

in Box 3 of the Form 1099-MISC.



                                                 6
35655595v1
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 40 of 69 PageID #:278



         22.    Neither this Final Approval Order and Judgment as to the Defendant, nor the

Settlement Agreement shall be construed or used as an admission or concession by or against the

Defendant or any of the Released Parties of any fault, omission, liability, or wrongdoing, or the

validity of any of the Released Claims in any action or proceedings whatsoever. This Final

Approval Order and Judgment is not a finding of the validity or invalidity of any claims in this

Action or a determination of any wrongdoing by the Defendant or any of the Released Parties. The

final approval of the Settlement Agreement does not constitute any opinion, position, or

determination of this Court, one way or the other, as to the merits of the claims and defenses of

Plaintiff, the Settlement Class Members, or the Defendant.



         The Clerk is hereby directed to enter this Final Approval Order and Judgment.


DATED:                         , 2018
                                                     United States District Court




                                                7
35655595v1
Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 41 of 69 PageID #:279




                     EXHIBIT 2
    Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 42 of 69 PageID #:280

      UNITED STATES DISTRICT COURT FOR THE NORTHERN
                    DISTRICT OF ILLINOIS

 Johansen v. Santanna Natural Gas Corporation d/b/a Santanna Energy
                Services, Civil Action No. 17-cv-03604
    If a call made on behalf of the Defendant was directed to your
       cellular telephone or your telephone number listed on the
    National Do Not Call Registry, you could get a payment from a
                         class action settlement.
             A federal court authorized this Notice. This is not a solicitation from a lawyer.
•    Defendant Santanna Natural Gas Corporation d/b/a Santanna Energy (“Defendant”) has
     agreed to pay Seven Hundred and Fifty Thousand Dollars ($750,000) into a fund from which
     eligible persons or entities who file claims will receive cash awards. The amount of your
     recovery will be based on the amount of people who file valid claims, but your expected
     recovery is about $150.00.
•    The settlement resolves a lawsuit involving allegations that a third party made telemarketing
     calls on the Defendant’s behalf from March 8, 2016 through May 12, 2017 to either (a) a
     cellular telephone number or (b) a number on the National Do Not Call Registry.
•    Court-appointed lawyers for the class (“Class Counsel”) will ask the Court for $250,000 of
     the fund as attorneys’ fees for the time they spent investigating the facts, litigating the case,
     and negotiating the settlement. Class counsel will also ask the Court to reimburse them an
     additional $38,983.32 for the out-of-pocket expenses they incurred in pursuing the case.
•    Defendant denies all allegations of wrongdoing in the lawsuit. As part of the proposed
     settlement, Defendant does not admit to any wrongdoing and continues to deny the
     allegations against it.
•    The two sides disagree on whether Plaintiff and the class could have won at trial.
•    Your legal rights are affected whether you act, or don’t act. Read this Notice carefully.
•    This Notice summarizes the proposed settlement. For all of the terms and conditions of the
     settlement, please see the Settlement Agreement available at www.XXX.com).
      •

PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S OFFICE
   TO INQUIRE ABOUT THIS SETTLEMENT OR THE CLAIMS PROCESS.




               QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
                                            ~1~
35655796v1
      Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 43 of 69 PageID #:281

                   YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT:

      SUBMIT A CLAIM FORM BY
                             This is the only way to receive a payment.
              DATE

                                      Get no payment. This is the only option that allows you to ever
        EXCLUDE YOURSELF BY
                                      be part of any other lawsuit against Defendant about the legal
              DATE
                                      claims in this case.

                OBJECT BY
                                      Write to the Court explaining why you don’t like the settlement.
                 DATE

        ATTEND A HEARING ON
                                      Ask to speak in Court about the fairness of the settlement.
              DATE

                DO NOTHING            Get no payment. Give up right to ever be part of any other
                                      lawsuit against Defendant about the legal claims in this case.



                                         BASIC INFORMATION
 1. What is this Notice and why should I read it?


The purpose of this Notice is to let you know that a proposed settlement has been reached in the class action
lawsuit entitled Johansen v. Santanna Natural Gas Corporation d/b/a Santanna Energy Services, Civil
Action No. 17-cv-03604 in the United States District Court for the Northern District of Illinois. You have
legal rights and options that you may act on before the Court decides whether to approve the proposed
settlement. Because your rights will be affected by this settlement, it is extremely important that you read
this Notice carefully. This Notice summarizes the settlement and your rights under it.

 2. What is this lawsuit about?


In a class action, one or more people, called class representatives, sue on behalf of people who have similar
claims. All of these people are a class, or class members. One court resolves the issues for all class members,
except those who exclude themselves from the class. The Court has certified a class for settlement purposes
only (the “Settlement Class”). U.S. District Court Judge John Lee (the “Court”) is in charge of this class
action.

Defendant denies that it did anything wrong, and denies that this case would be certified as a class action
in litigation.




                 QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
                                              ~2~
   35655796v1
      Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 44 of 69 PageID #:282

                                             THE SETTLEMENT
 3. Why is there a settlement?


The Court did not decide in favor of the Plaintiff or Defendant. Instead, both sides agreed to a settlement.
That way, they avoid the cost of a trial, and the people affected will get compensation. The class
representatives and their attorneys think the settlement is best for the Settlement Class.

                                  WHO IS IN THE SETTLEMENT?
 4. How do I know if I am a part of the settlement?


You are in the “Settlement Class” if you fit into the following category:

                 All persons within the United States identified in the supplemental expert report
                 of Anya Verkhovskaya to whom Defendant, through a third party, initiated a
                 telephone call from March 8, 2016 through May 12, 2017 to either (a) a cellular
                 telephone number or (b) a number on the National Do Not Call Registry.
If you have questions about whether you are part of the Settlement Class, you may call 1-XXX-XXX-
XXXX or visit www.XXX.com for more information.

                      THE SETTLEMENT BENEFITS – WHAT YOU GET
 5. What does the settlement provide?


Defendant has agreed to pay Seven Hundred and Fifty Thousand Dollars ($750,000) to be divided among
all Settlement Class Members who send in a valid Claim Form after any fees, costs, service awards, and
settlement administration expenses have been deducted.

Defendant has also agreed that it will take remedial steps in an effort to comply with the TCPA’s
requirements.

 6. How much will my payment be?


Your share of the settlement will depend on the number of Claim Forms that Settlement Class Members
submit, but the estimated recovery for class members is $100.

                HOW YOU GET A PAYMENT – SUBMITTING A CLAIM FORM
    7. How do I make a claim?


To qualify for payment, you must submit a Claim Form by Month XX, XXXX. There are multiple ways to
submit a Claim Form. A paper Claim Form is available by requesting or by calling 1-XXX-XXX-XXXX.


                 QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
                                              ~3~
   35655796v1
      Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 45 of 69 PageID #:283
Read the instructions on the postcard carefully, fill out the form, sign it, and mail it postmarked no later
than Month XX, XXXX. You may also submit a Claim Form online by going to the Settlement Website at
www.XXX.com and following directions. You also may download a paper Claim Form on the Settlement
Website or call the Settlement Administrator at 1-XXX-XXX-XXXX. Claim Forms sent by mail must be
postmarked by Month XX, XXXX and mailed to:

                             Santanna Natural Gas Telemarketing Settlement
                                       Settlement Administrator
                                           P.O. Box. XXXX
                                          City, State Zip Code


 8. When will I get my payment?

The Court will hold a hearing on Month XX, XXXX to decide whether to approve the settlement. If the
settlement is approved, appeals may still follow. It is always uncertain whether these appeals can be
resolved, and resolving them can take more than a year. Please be patient.

 9. What am I giving up to get a payment or stay in the Class?

Unless you exclude yourself, you are staying in the Settlement Class and you will be a Settlement Class
Member. That means you can’t sue, continue to sue, or be part of any other lawsuit against Defendant
regarding the TCPA claims that are subject to the settlement. If the settlement is approved and becomes
final and not subject to appeal, then you and all Settlement Class Members release all “Released Claims”
against all “Released Parties.” It also means that all of the Court’s orders will apply to you and legally bind
you.
The Settlement Agreement (available at www.XXX.com) describes the claims you are releasing (the
“Released Claims”) and against whom you are releasing claims (“Released Parties”) in detail, so read it
carefully. To summarize, the release includes, but is not limited to, telemarketing-related claims that arise
out of the improper use of an “automatic telephone dialing system” and/or an “artificial or prerecorded
voice” to make telephone calls to cellular phones by Defendant.


                    EXCLUDING YOURSELF FROM THE SETTLEMENT
If you don’t want a payment from this settlement, but you want to keep the right to sue or continue to sue
Defendant, then you must take steps to remove yourself from the Settlement Class. This is called excluding
yourself—or is sometimes referred to as “opting out” of the Settlement Class.

 10. How do I get out of the settlement?

To exclude yourself from the settlement, you must send a letter saying that you want to be excluded from
the Johansen v. Santanna Natural Gas Corporation d/b/a Santanna Energy Services settlement. You must
sign the letter and include a statement that you wish to be excluded from this action. Please be sure to
include your name, address, telephone number, and signature. You must mail your exclusion request
postmarked no later than Month XX, XXXX to the following address:


                QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
                                             ~4~
   35655796v1
     Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 46 of 69 PageID #:284
                            Santanna Natural Gas Telemarketing Settlement
                                      Settlement Administrator
                                          P.O. Box XXXX
                                        City, State Zip Code

You cannot exclude yourself on the phone or by fax or email. If you ask to be excluded, you will not
get any payment, and you cannot object to the settlement. You will not be legally bound by anything
that happens in this lawsuit. You may be able to sue (or continue to sue) Defendant in the future.

 11. If I don’t exclude myself, can I sue Defendant for the same thing later?

Unless you exclude yourself, you give up any right to sue Defendant for the claims that this settlement
resolves. If you already have a lawsuit that may relate to the claims being released as part of this class
settlement, you should speak to your lawyer in that case immediately. You must exclude yourself from this
Settlement Class to continue your own lawsuit. Remember, the exclusion deadline is Month XX, XXXX.

 12. If I exclude myself, can I get anything from this settlement?

If you exclude yourself, do not submit a Claim Form to ask for a payment.



                            THE LAWYERS REPRESENTING YOU
 13. Do I have a lawyer in this case?


The Court has appointed Broderick & Paronich, P.C., The Law Office of Matthew P. McCue, and Murray
Murphy Moul + Basil LLP to represent you and other Settlement Class Members. These lawyers are called
Class Counsel. You will not be charged for these lawyers. If you want to be represented by your own lawyer,
you may hire one at your own expense.

 14. How will the lawyers be paid?


Class Counsel will ask the Court to approve payment of up to $250,000 to them for attorneys’ fees. This
amounts to 33 1/3% of the total fund. Class Counsel will also seek recovery of their actual expenses spent
on the litigation of $38,983.32. These payments would pay Class Counsel for investigating the facts,
litigating the case, and negotiating the settlement. Class Counsel also will request a service award of
$10,0000 for the named Plaintiff to compensate him for his time and effort. The Court may award less than
these amounts.




                QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
                                             ~5~
   35655796v1
      Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 47 of 69 PageID #:285

                                OBJECTING TO THE SETTLEMENT
    15. How do I object to the settlement?

If you are a Settlement Class Member and you do not exclude yourself from the Settlement Class, you can
object to the settlement if you don’t like any part of it. You may give reasons why you think the Court
should not approve it. The Court will consider your views. To object, you must send a letter saying that you
object to the settlement in Johansen v. Santanna Natural Gas Corporation d/b/a Santanna Energy Services.
You must make your objection in writing and file it with the Court. The written objection must (a) contain
information sufficient to allow the parties to confirm that you are a member of the Settlement Class,
including your full name, address, telephone number, and signature; (b) include a statement of your specific
objections, as well as any witness testimony and documents that you would like the Court to consider; and
(c) the name and contact information of any attorney you intend to have assert your objections before the
Court. You must file the objection with the Court no later than Month XX, XXXX.
                Johansen v. Santanna Natural Gas Corporation d/b/a Santanna Energy Services
                                             Case No. 17-cv-03604
                                               Clerk of the Court
                             U.S. District Court for the Northern District of Illinois
                                              219 S. Dearborn St.
                                              Chicago, IL 60604

 16. What’s the difference between objecting and excluding myself from the settlement?

Objecting simply means telling the Court that you don’t like something about the settlement. You can object
only if you stay in the Settlement Class. Excluding yourself from the Settlement Class is telling the Court
that you don’t want to be part of the Settlement Class. If you exclude yourself, you have no basis to object
because the case no longer affects you.

                               THE COURT’S FAIRNESS HEARING
 17. When and where will the Court hold a hearing on the fairness of the settlement?


The Court will hold the final fairness hearing at X:00 x.m. on Month XX, XXXX, before the Honorable
John Lee at the U.S. District Court for the Northern District of Illinois, 219 S. Dearborn St, Chicago, IL
60604. The purpose of the hearing is for the Court to determine whether the settlement is fair, reasonable,
adequate, and in the best interests of the Settlement Class. At the hearing, the Court will hear any objections
and arguments concerning the fairness of the proposed settlement, including those related to the amount
requested by Class Counsel for attorneys’ fees and expenses, and the incentive award to the class
representative. After the hearing, the Court will decide whether to approve the settlement. We do not know
how long these decisions will take.

Note: The date and time of the fairness hearing are subject to change by Court Order. Any changes will be
posted at the Settlement website, www.XXX.com.




                  QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
                                               ~6~
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     Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 48 of 69 PageID #:286

                          DO I HAVE TO ATTEND THE HEARING?
 18. Do I have to come to the hearing?

Class Counsel will answer any questions the Court may have. But you are welcome to come to the hearing
at your own expense. If you send an objection, you don’t have to come to Court to talk about it. As long as
your written objection was filed or mailed on time, and meets the other criteria described in the Settlement
Agreement, the Court will consider it. You may also pay a lawyer to attend, but you don’t have to.

 19. May I speak at the hearing?


If you do not exclude yourself from the Settlement Class, you may ask the Court for permission to speak
at the hearing concerning any part of the proposed Settlement Agreement. If you filed an objection and
intend to appear at the hearing, you must state your intention to do so in your objection. To speak, you
must state that in your objection. Be sure to include your name, address, telephone number, that you are a
Settlement Class Member, and your signature. You cannot speak at the hearing if you exclude yourself.


                                       IF YOU DO NOTHING
 20. What happens if I do nothing at all?

If you do nothing, you’ll get no money from this settlement. But, unless you exclude yourself, you won’t
be able to start a lawsuit, continue with a lawsuit, or be part of any other lawsuit against Defendant about
the legal issues released in this case.

                               GETTING MORE INFORMATION
 21. How do I get more information?


This notice summarizes the proposed settlement. More details are in the Settlement Agreement. You may
review the Settlement Agreement on the Settlement Website at www.XXX.com. You can also get a copy
of the Settlement Agreement by writing to any of the Court appointed attorneys.
You can call 1-XXX-XXX-XXXX toll free; write to Total Merchant Telemarketing Settlement, P.O. Box
XXXX, City, State Zip Code; or visit the website at www.XXX.com, where you will find answers to
common questions about the settlement, a Claim Form, plus other information to help you determine
whether you are a member of the Settlement Class. You also may write to Broderick & Paronich, P.C., 99
High St., Suite 304, Boston, MA 02110.


PLEASE DO NOT CONTACT THE COURT, THE JUDGE, OR THE DEFENDANT WITH
        QUESTIONS ABOUT THE SETTLEMENT OR CLAIMS PROCESS.




                QUESTIONS? CALL 1-XXX-XXX-XXXX TOLL FREE OR VISIT WWW.XXX.COM
                                             ~7~
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Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 49 of 69 PageID #:287




                     EXHIBIT 3
ase: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 50 of 69 PageID #:2
    Johansen v. Santanna Natural Gas Corporation d/b/a Santanna Energy Service Settlement Administrator
    [ADDRESS]




                                                «Barcode»
                                                Postal Service: Please do not mark barcode
                                                Claim#: AAG-«ClaimID»-«MailRec»
                                                «First1» «Last1»
                                                «CO»
                                                «Addr2»
                                                «Addr1»
                                                «City», «St» «Zip»
    «Country»




    35655904v1
ase: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 51 of 69 PageID #:2
    A proposed settlement (the “Settlement”) has been reached in a class action lawsuit, Johansen v. Santanna Natural
    Gas Corporation d/b/a Santanna Energy Service, United States District Court for the Northern District of Illinois,
    No. 17-cv-03604 (the “Action”). The lawsuit alleges that telemarketing calls made by a third party allegedly on
    behalf of Santanna Energy Services violated the Telephone Consumer Protection Act, 47 U.S.C. § 227 (the
    “TCPA”). Defendant denies that it violated any laws, that it did anything wrong, or that a class could be certified.
    Plaintiff and Defendant have agreed to the Settlement to avoid the burden, expense, risk, and uncertainty of
    continuing the Lawsuit.
    Who is included? You were identified as someone who may have received one or more of these phone calls between
    March 8, 2016 and May 12, 2017.
    How much money can I get? If the Court approves the Settlement, every Settlement Class Member who submits a
    valid Claim Form will be entitled to an equal payment from the $750,000 Settlement Fund. Class Counsel estimate
    that the minimum per class claimant payout will be $150, but your actual payment amount will depend on how
    many Settlement Class Members submit valid Claim Forms. The Settlement Fund will be divided based on how
    many Settlement Class Members submit a valid Claim Form after attorneys’ fees, costs and expenses, an award for
    the Class Representative, and notice and administration costs have been deducted. Class Counsel intend to seek
    reimbursement of $250,000 for attorneys’ fees plus an additional $38,983.32 reimbursement for out of pocket
    expenses.
    How can I get a payment? You must complete a Claim Form by no later than [DATE]. Claim Forms may be
    completed online at INSERT or obtained by calling the Settlement Administrator at INSERT.
    What are my options? If you are a Settlement Class Member and you submit a Claim Form or do nothing, and the
    Court approves Settlement, you will be bound by all of the Settlement terms, including the releases of claims
    against Defendant and the other Released Parties. You may “opt out” (exclude yourself) from the Settlement. If you
    opt out, you will not receive a payment, and you will not release any claims. You will be free to pursue whatever
    legal rights you may have at your own risk and expense. To exclude yourself from the Settlement, you must mail a
    request for exclusion to: Johansen v. Santanna Natural Gas Corporation d/b/a Santanna Energy Service
    Settlement Administrator, ADDRESS, which must be postmarked by [DATE], that includes your full name,
    address, telephone number or numbers, a statement that you wish to be excluded from the Johansen v. Santanna
    Natural Gas Corporation d/b/a Santanna Energy Service Settlement, and your signature. Unless you exclude
    yourself from this Settlement, you give up your right to sue or continue a lawsuit against Defendant and the other
    Released Parties.

    You may object to the Settlement by submitting a written objection in Johansen v. Santanna Natural Gas
    Corporation d/b/a Santanna Energy Services, Case No. 17-cv-03604, Clerk of the Court, U.S. District Court for
    the Northern District of Illinois, 219 S. Dearborn St., Chicago, IL 60604 by [DATE]. Also send your objection to
    the Settlement Administrator and to Class Counsel. Any objection must include your full name; address; telephone
    numbers that you maintain were called; all grounds for your objection, with factual and legal support for each stated
    ground; the identity of any witnesses you may call to testify; copies of any exhibits that you intend to introduce into
    evidence; and a statement of whether you intend to appear at the Final Approval Hearing with or without counsel.
    Attendance at the hearing is not necessary. If you want to be heard orally (either personally or through counsel) in
    opposition to the Settlement, you must file a timely objection as set forth above.
    When will the Settlement be finally approved? The Court will hold a Final Approval Hearing (the “Hearing”) at
    [DATE] and Time at the U.S. District Court, 219 S. Dearborn St., Chicago, IL 60604. At the Hearing, the Court
    will consider whether to approve: the proposed Settlement as fair, reasonable, and adequate; Class Counsel’s
    request of up to one-third of the Settlement Fund in fees in addition to their costs and expenses; and a $10,000
    payment to the Class Representative. The Court will also hear objections to the Settlement. If approval is denied,
    reversed on appeal, or does not become final, the case will continue and claims will not be paid.
    Want more information? The Settlement Agreement and other relevant documents are available at INSERT.
    Pleadings and documents filed in Court may be reviewed or copied in the office of the Clerk. Please do not call the
    Judge or the Clerk of the Court. They cannot give you advice on your options.




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    35655904v1
Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 52 of 69 PageID #:290




                     EXHIBIT 4
               Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 53 of 69 PageID #:291
                                            Home     Case Documents   Important Dates & Deadlines Frequently Asked Questions   File Claim



Johansen v. Santanna National Gas Corporation d/b/a Santanna Energy Service


                                                            File Claim



How would you like to file?

If you received a Postcard Notice in the mail, it contains a 12-digit claim number directly above your Name and Address. Please use
that number for faster claims processing.

        I have a Claim Number and want to file online

        I have a Claim Number and want to print and mail a claim form

        I do not have a Claim Number but have my Affected Phone Number and want to file online

        I do not have a Claim Number but have my Affected Phone Number and want to print and mail a claim form




                KCC Class Action Services LLC                    Terms of Use                       Privacy Statement
                Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 54 of 69 PageID #:292
                                          Home   Case Documents   Important Dates & Deadlines Frequently Asked Questions   File Claim



Johansen v. Santanna National Gas Corporation d/b/a Santanna Energy Service

                                                                                                        If Claimant selects file
                                                       Claim Form                                            with Claim ID

Please Log In

Please enter your Claim ID:

      *Claim ID:



                                                          Log In



*Required




                KCC Class Action Services LLC                Terms of Use                       Privacy Statement
             Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 55 of 69 PageID #:293
                                       Home   Case Documents   Important Dates & Deadlines Frequently Asked Questions   File Claim



Johansen v. Santanna National Gas Corporation d/b/a Santanna Energy Service


                                                                                                        If Claimant selects file
                                                    Claim Form                                               with Claim ID

Claimant Information

                              *First Name

                            Middle Initial

                              *Last Name

   Please check if a non-U.S. address

                        *Primary Address

              Primary Address continued

                                     *City

                                    *State        Select

                                      *Zip

                           Email Address

             Contact Telephone Number



            *Affected Telephone Number            (###) ###-#### <-pre-populated with Affected Phone




*Required




             KCC Class Action Services LLC                 Terms of Use                      Privacy Statement
                Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 56 of 69 PageID #:294
                                          Home   Case Documents   Important Dates & Deadlines Frequently Asked Questions   File Claim



Johansen v. Santanna National Gas Corporation d/b/a Santanna Energy Service


                                                                                                           If Claimant selects file
                                                       Claim Form                                               with Claim ID

Verification

Verify that you are a member of the Settlement Class described in the Notice:

       By checking this box, I am confirming that, between March 8, 2016 through May 12, 2017, I received a
       telemarketing call made by Santanna Natural Gas Corporation d/b/a/ Santanna Energy Service that I
       believe violated the TCPA.



Certification

       I certify that the statements herein are true to the best of my knowledge. I understand the
       Settlement Administrator has the right to verify my response and dispute any claims that based on
       inaccurate responses.



                                                       Agree and Submit




                KCC Class Action Services LLC                Terms of Use                       Privacy Statement
                Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 57 of 69 PageID #:295
                                          Home   Case Documents   Important Dates & Deadlines Frequently Asked Questions   File Claim



Johansen v. Santanna National Gas Corporation d/b/a Santanna Energy Service

                                                                                                        If Claimant selects file
                                                       Claim Form                                        with Phone Number

Please Log In

Please enter your Affected Phone Number:

      *Phone Number:



                                                          Log In



*Required




                KCC Class Action Services LLC                Terms of Use                       Privacy Statement
              Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 58 of 69 PageID #:296
                                        Home   Case Documents   Important Dates & Deadlines Frequently Asked Questions   File Claim



Johansen v. Santanna National Gas Corporation d/b/a Santanna Energy Service


                                                                                                        If Claimant selects file
                                                     Claim Form                                          with Phone Number

Claimant Information

                               *First Name

                             Middle Initial

                               *Last Name

   Please check if a non-U.S. address

                         *Primary Address

              Primary Address continued

                                      *City

                                     *State        Select

                                       *Zip

                            Email Address

             Contact Telephone Number



            * Affected Telephone Number            (###) ###-#### <-pre-populated with Affected Phone




*Required




              KCC Class Action Services LLC                 Terms of Use                      Privacy Statement
                Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 59 of 69 PageID #:297
                                          Home   Case Documents   Important Dates & Deadlines Frequently Asked Questions   File Claim



Johansen v. Santanna National Gas Corporation d/b/a Santanna Energy Service


                                                                                                          If Claimant selects file
                                                       Claim Form                                          with Phone Number

Verification

Verify that you are a member of the Settlement Class described in the Notice:

       By checking this box, I am confirming that, between March 8, 2016 through May 12, 2017, I received a
       telemarketing call made by Santanna Natural Gas Corporation d/b/a/ Santanna Energy Service that I
       believe violated the TCPA.



Certification

       I certify that the statements herein are true to the best of my knowledge. I understand the
       Settlement Administrator has the right to verify my response and dispute any claims that based on
       inaccurate responses.



                                                       Agree and Submit




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Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 60 of 69 PageID #:298




                     EXHIBIT 5
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 61 of 69 PageID #:299




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

KEN JOHANSEN on behalf of themselves and
others similarly situated,                             Case No. 17-cv-03604
        Plaintiff,
v.

SANTANNA NATURAL GAS
CORPORATION, dba SANTANNA ENERGY
SERVICES,

        Defendant.


                              PRELIMINARY APPROVAL ORDER

        The Plaintiff has moved for preliminary approval of a proposed class settlement which

would resolve the Plaintiff’s class-action claims brought under the Telephone Consumer

Protection Act, 47 U.S.C. § 227, et seq. Upon consideration of the motion, the Settlement

Agreement, and the exhibits thereto, the Court GRANTS preliminary approval of the Settlement,

finding specifically as follows.1

                                         I.      Jurisdiction

             1.   The Court preliminarily finds that it has jurisdiction over the subject matter of this

 action and personal jurisdiction over the parties and the members of the Settlement Class

 described below.

                              II.     Certification of Settlement Class

             2.   Under Rule 23 of the Federal Rules of Civil Procedure, the Court preliminarily

 certifies the following “Settlement Class,” consisting of:




1 Unless otherwise defined herein, all terms used in this Order that are defined terms in the
Settlement Agreement have the same meaning as set forth in the Settlement Agreement.

30002041v2
35655547v1
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 62 of 69 PageID #:300




                  All persons within the United States identified in the supplemental expert report
                  of Anya Verkhovskaya to whom Defendant, through a third party, initiated a
                  telephone call from March 8, 2016 through May 12, 2017 to either (a) a cellular
                  telephone number or (b) a number on the National Do Not Call Registry.

                              III.    Class Representative and Class Counsel

         3.          The Court preliminarily appoints Plaintiff Ken Johansen as Class Representative.

         4.          Under Rule 23(g), the following attorneys and firms are preliminarily appointed as

Class Counsel:

                             Edward Broderick
                             Anthony Paronich
                             BRODERICK & PARONICH, P.C.
                             99 High St., Suite 304
                             Boston, Massachusetts 02110
                                    -and-
                             Matthew P. McCue
                             THE LAW OFFICE OF MATTHEW P. MCCUE
                             1 South Avenue, Suite 3
                             Natick, Massachusetts 01760
                                    -and-
                             Brian K. Murphy
                             Jonathan P. Misny
                             MURRAY MURPHY MOUL + BASIL LLP
                             1114 Dublin Rd.
                             Columbus, Ohio 43215

                                        IV.     Rule 23 Requirements

             5.       The Court preliminarily finds that the prerequisites for a class action under Rule

 23(a) have been satisfied in that: (a) the number of Settlement Class Members is so numerous that

 joinder of all members thereof is impracticable; (b) there are questions of law and fact common

 to the Settlement Class Members; (c) the claims of the class representative are typical of the

 claims of the Settlement Class Members; and (d) the class representative will fairly and

 adequately represent the interests of the Settlement Class Members.

             6.       The Court further finds that the prerequisites for class certification under Rule

                                                       2
30002041v2
35655547v1
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 63 of 69 PageID #:301



 23(b)(3) have been satisfied in that (a) questions of law and fact common to the Settlement Class

 Members predominate over any questions affecting only individual Settlement Class Members;

 and (b) a class action is superior to other available methods for the fair and efficient adjudication

 of the controversy.

                         V.     Preliminary Approval of the Settlement

             7.   Pursuant to the Settlement Agreement, the Defendant has agreed to pay Seven

 Hundred and Fifty Thousand Dollars ($750,000) to create the Settlement Fund. Amounts awarded

 to Class Counsel or the Class Representative will be paid from the Settlement Fund. Class

 Members will receive a pro-rata share of the Settlement Fund after attorneys’ fees and costs, the

 Class Representative’s award, the costs of notice and administration are deducted, and any other

 expenditure authorized by the Court. In addition to payments from the Settlement Fund,

 Defendant has also agreed that it will take remedial steps in an effort to comply with the TCPA’s

 requirements regarding making telephone calls using an automatic telephone dialing system or an

 artificial or prerecorded voice to a cellular telephone service.

             8.   Having considered the motion for preliminary approval, the Settlement

 Agreement, and the exhibits thereto, the Court preliminarily finds that the Settlement is fair,

 adequate, reasonable, and in the best interests of the Settlement Class. This finding is supported

 by, among other things, the complex legal and factual posture of the Action, the fact that the

 Settlement is the result of arm’s-length negotiations presided over by a neutral mediator, and the

 settlement benefits being made available to Settlement Class Members.

                                VI.     Notice and Administration

             9.   The Court appoints Kurtzman Carson Consultants, LLC to perform the functions

 and duties of the Settlement Administrator set forth in the Settlement Agreement – including


                                                  3
30002041v2
35655547v1
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 64 of 69 PageID #:302



 effectuating the Notice Plan – and to provide such other administration services as are reasonably

 necessary to facilitate the completion of the Settlement.

             10.   The Court has carefully considered the notice program set forth in the Settlement

 Agreement. The Court finds that the notice program constitutes the best notice practicable under

 the circumstances and satisfies fully the requirements of Rule 23(c)(2), and the requirements of

 due process.

             11.   The Court thus approves the notice program and the form, content, and

 requirements of the Notice described in and attached as exhibits to the Settlement Agreement.

 The Settlement Administrator shall cause the Notice Plan to be completed on or before [21 days

 after preliminary approval]. Class Counsel shall, prior to the Final Approval Hearing, file with

 the Court a declaration executed by the Settlement Administrator attesting to the timely

 completion of the notice program.

             12.   All costs of providing Notice to the Settlement Class, processing Claim Forms,

 and administering distributions from the Settlement Fund shall be paid out of the Settlement Fund,

 as provided by the Settlement Agreement.

                                 VII.    Exclusion and “Opt-Outs”

             13.   Each and every member of the Settlement Class shall be bound by all

 determinations and orders pertaining to the Settlement, including the release of all claims to the

 extent set forth in the Settlement Agreement, unless such persons request exclusion from the

 Settlement in a timely and proper manner, as hereinafter provided.

             14.   A member of the Settlement Class wishing to request exclusion (or “opt out”) from

 the Settlement shall mail the request in written form, by first class mail, postage prepaid, and must

 be received no later than [81 days after preliminary approval] by the Settlement Administrator


                                                  4
30002041v2
35655547v1
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 65 of 69 PageID #:303



 at the address specified in the Notice. In the written request for exclusion, the member of the

 Settlement Class must state his or her full name, address, telephone numbers, and last four Social

 Security number digits. Further, the written request for exclusion must include a statement that

 the member of the Settlement Class submitting the request wishes to be excluded from the

 Settlement, and the personal signature of the member of the Settlement Class submitting the

 request. The request for exclusion shall not be effective unless the request for exclusion provides

 the required information and is made within the time stated above, or the exclusion is otherwise

 accepted by the Court. No member of the Settlement Class, or any person acting on behalf of or

 in concert or in participation with a member of the Settlement Class, may request exclusion of

 any other member of the Settlement Class from the Settlement.

             15.   Members of the Settlement Class who timely request exclusion from the

 Settlement will relinquish their rights to benefits under the Settlement and will not release any

 claims against the Defendant or any of the other Released Parties.

             16.   All Settlement Class Members who do not timely and validly request exclusion

 shall be so bound by all terms of the Settlement Agreement and by the Final Approval Order and

 Judgment even if they have previously initiated or subsequently initiate individual litigation or

 other proceedings against the Defendant or any of the other Released Parties.

             17.   The Settlement Administrator will promptly provide all Parties with copies of any

 exclusion requests, and Plaintiff shall file a list of all persons who have validly opted-out of the

 Settlement with the Court prior to the Final Approval Hearing.

                                          VIII. Objections

             18.   Any Settlement Class Member who does not file a timely request for exclusion,

 but who wishes to object to approval of the proposed Settlement, to the award of attorneys’ fees


                                                  5
30002041v2
35655547v1
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 66 of 69 PageID #:304



 and expenses, or to the compensation award to the Class Representative must submit to Class

 Counsel and the Settlement Administrator a written statement that includes: his or her full name;

 address; telephone numbers that he or she maintains were called; all grounds for the objection,

 with factual and legal support for each stated ground; the identity of any witnesses he or she may

 call to testify; copies of any exhibits that he or she intends to introduce into evidence at the Final

 Approval Hearing; the identity of any attorney consulted as to such objection; and a statement of

 whether he or she intends to appear at the Final Approval Hearing with or without counsel. The

 Court will consider objections to the Settlement, to the award of attorneys’ fees and expenses, or

 to the compensation award to the Class Representative only if, on or before [81 days after

 preliminary approval], such objections and any supporting papers are filed in writing with the

 Clerk of this Court and served on the Settlement Administrator.

             19.   A Settlement Class Member who has timely filed a written objection as set forth

 above may appear at the Final Approval Hearing in person or through counsel to be heard orally

 regarding their objection. It is not necessary, however, for a Settlement Class Member who has

 filed a timely objection to appear at the Final Approval Hearing. No Settlement Class Member

 wishing to be heard orally in opposition to the approval of the Settlement and/or the request for

 attorneys’ fees and expenses and/or the request for a compensation award to the Class

 Representative will be heard unless that person has filed a timely written objection as set forth

 above. No non-party, including members of the Settlement Class who have timely opted out of

 the Settlement, will be heard at the Final Approval Hearing.

             20.   Any member of the Settlement Class who does not opt out or make an objection

 to the Settlement in the manner provided herein shall be deemed to have waived any such

 objection by appeal, collateral attack, or otherwise, and shall be bound by the Settlement


                                                  6
30002041v2
35655547v1
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 67 of 69 PageID #:305



 Agreement, the releases contained therein, and all aspects of the Final Approval Order and

 Judgment.

    IX.        Application for an Award of Attorneys’ Fees, Costs, and an Incentive Award.

             21.    Any application for a compensation award to the Class Representative as well as

 any application for an award of attorneys’ fees and expenses must be filed on or before [30 days

 after preliminary approval].

                                     X.     Final Approval Hearing

             22.    A Final Approval Hearing will be held before the Court on [at least 100 days after

 preliminary approval] at _____ am for the following purposes:

                   (a)     to finally determine whether the requirements of Federal Rules of Civil

          Procedure 23(a) and (b) are met;

                   (b)     to determine whether the Settlement is fair, reasonable and adequate, and

          should be approved by the Court;

                   (c)     to determine whether the judgment as provided under the Settlement

          Agreement should be entered, including a bar order prohibiting Settlement Class Members

          from further pursuing claims released in the Settlement Agreement;

                   (d)     to consider the application for an award of attorneys’ fees and expenses of

          Class Counsel;

                   (e)     to consider the application for an compensation award to the Class

          Representative;

                   (f)     to consider the distribution of the settlement benefits under the terms of the

          Settlement Agreement; and

                   (g)     to rule upon such other matters as the Court may deem appropriate.


                                                     7
30002041v2
35655547v1
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 68 of 69 PageID #:306



             23.   On or before fourteen (14) days prior to the Final Approval Hearing, Class Counsel

 shall file and serve a motion for final approval.

             24.   The Final Approval Hearing may be postponed, adjourned, transferred, or

 continued by order of the Court without further notice to the Settlement Class. At, or following,

 the Final Approval Hearing, the Court may enter a Final Approval Order and Judgment in

 accordance with the Settlement Agreement that will adjudicate the rights of all Settlement Class

 Members.

             25.   For clarity, the deadlines the Parties shall adhere to are as follows:

Class Notice Completed by:                       _________, 2018

Incentive Award and Fee Application:             _________, 2018

Objection/Exclusion Deadline:                     _________, 2018

Claim Deadline:                                  _________, 2018

Final Approval Submissions:                       _________, 2019

Final Approval Hearing:                          _________, 2019 at ______ am

             26.   Settlement Class Members do not need to appear at the Final Approval Hearing or

 take any other action to indicate their approval.

                                        XI.     Further Matters

             27.   All discovery and other pretrial proceedings in the Action are stayed and

 suspended until further order of the Court except such actions as may be necessary to implement

 the Settlement Agreement and this Order.

             28.   In the event that the Settlement Agreement is terminated under the terms of the

 Settlement Agreement, or for any reason whatsoever the approval of it does not become final and

 no longer subject to appeal, then: (i) the Settlement Agreement shall be null and void, including


                                                     8
30002041v2
35655547v1
  Case: 1:17-cv-03604 Document #: 56-1 Filed: 08/23/18 Page 69 of 69 PageID #:307



 any provisions related to the award of attorneys’ fees and expenses, and shall have no further

 force and effect with respect to any party in this Action, and shall not be used in this Action or in

 any other proceeding for any purpose; (ii) all negotiations, proceedings, documents prepared, and

 statements made in connection therewith shall be without prejudice to any person or party hereto,

 shall not be deemed or construed to be an admission by any party of any act, matter, or

 proposition, and shall not be used in any manner of or any purpose in any subsequent proceeding

 in this Action or in any other action in any court or other proceeding, provided, however, that the

 termination of the Settlement Agreement shall not shield from subsequent discovery any factual

 information provided in connection with the negotiation of this Settlement Agreement that would

 ordinarily be discoverable but for the attempted settlement; (iii) this Order shall be vacated; and

 (iv) any party may elect to move the Court to implement the provisions of this paragraph, and

 none of the non-moving parties (or their counsel) shall oppose any such motion.

             29.   The Court retains jurisdiction to consider all further matters arising out of or

 connected with the Settlement.



DATED:                          , 2018
                                                      United States District Court




                                                  9
30002041v2
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